                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                               Case No. 09-CR-20

LEWIS JUDKINS
                     Defendant.


                               SENTENCING MEMORANDUM

       Defendant Lewis Judkins pleaded guilty to conspiring to possess with intent to distribute

and to distribute 5 kilograms or more of cocaine and 50 grams or more of crack cocaine,

contrary to 21 U.S.C. §§ 841(a)(1), (b)(1)(A) & 846. I ordered a pre-sentence report (“PSR”)

and set the case for sentencing.

       In imposing sentence, the district court must first calculate the advisory sentencing

guideline range, resolving any factual disputes necessary to that determination, then select the

actual sentence on consideration of all of the factors set forth in 18 U.S.C. § 3553(a). See,

e.g., United States v. Bush, 523 F.3d 727, 729 (7th Cir. 2008). This memorandum sets forth

written reasons for my sentencing determinations.

                                       I. GUIDELINES

       Defendant’s PSR set a base offense level of 34 under U.S.S.G. § 2D1.1(c)(3) based on

drug weight, then added enhancements of 2 levels under § 2D1.1(b)(1) based on a co-

conspirator’s firearm possession, and 4 levels based on defendant’s aggravated role in the

offense under U.S.S.G. § 3B1.1(a). Based on defendant’s timely guilty plea, the report

deducted 3 levels for acceptance of responsibility, § 3E1.1, for a final level of 37. The PSR



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then calculated a criminal history category of III based a criminal history score of 6 – 1 point

under U.S.S.G. § 4A1.1(c) for a 1998 cocaine possession case (sentence: 2 years probation);

3 points under U.S.S.G. § 4A1.1(a) for a 2000 second degree sexual assault of a child

(sentence: 4 years prison) and burglary (sentence: 8 years imposed and stayed for 10 years

probation) case; and 2 points under U.S.S.G. § 4A1.1(d) because defendant committed the

instant offense between May 2006 and December 2008, while on probation in the 2000

burglary case.1

       Defendant objected to various statements and guideline calculations in the PSR. Aside

from one, I found that his objections lacked merit.

A.     Corey Smith’s Involvement

       Defendant first objected to the inclusion of any incriminating statements relating to his

brother and co-defendant, Corey Smith. Defendant noted that Smith’s guilt had not been

proven, and that his case was set for trial. I saw no basis for excluding otherwise reliable

information simply because Smith’s case had not yet been resolved. Nor did the fact that

information about Smith was not included in defendant’s plea agreement mean that I could not

consider it. See 18 U.S.C. § 3661 (“No limitation shall be placed on the information concerning

the background, character, and conduct of a person convicted of an offense which a court of

the United States may receive and consider for the purpose of imposing an appropriate

sentence.”); United States v. Tockes, 530 F.3d 628, 633 (7th Cir. 2008) (noting that the

sentencing court may appropriately conduct an inquiry broad in scope, largely unlimited either



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        Defendant’s probation in the 2000 case was revoked based on the instant offense,
resulting in activation of the 8 year stayed prison sentence, which he was serving when he
appeared before me for sentencing.

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as to the kind of information it may consider or the source from which it might come, including

reliable evidence of wrongdoing for which the defendant has not been convicted). Finally, as

to the specific information set forth in PSR ¶ 21 (pertaining to a controlled buy with which Smith

was involved), the circumstances surrounding that transaction were corroborated by various

means, including recorded calls.

B.     Firearm Enhancement

       Defendant next objected to the 2 level firearm enhancement under § 2D1.1(b)(1). The

government agreed not to seek this enhancement, and based on this agreement and the lack

of specific evidence that the co-conspirator, Katherine Howard, possessed the firearm in

furtherance of her and defendant’s jointly undertaken criminal activity, see U.S.S.G. §

1B1.3(a)(1)(B), I declined to impose it.

C.     Drug Weight

       Defendant conceded that the drug weight properly attributable to him exceeded 5

kilograms of cocaine, but he objected to the PSR’s estimate of 15-50 kilograms, producing the

base level of 34. Specifically, he argued that the statements made by co-defendant Sarah

Hawver, upon which the PSR’s figure was primarily based, were not accurate and were better

characterized as a summary of the investigator’s estimate of drug quantities attributable to the

conspiracy. Defendant stressed his due process right to be sentenced based on accurate

information and noted that the information in his PSR was hearsay.

       In calculating a guideline range, “the stringent rules governing admission of evidence

in a criminal trial are not applicable.” United States v. Maiden, No. 09-3747, 2010 WL

1948340, at *1 (7th Cir. May 17, 2010) (citing United States v. Johnson, 489 F.3d 794, 796



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(7th Cir. 2007)). While a defendant has a due process right to have his sentence based upon

accurate information, “hearsay statements are often an integral part of the sentencing process.”

Id. (internal quote marks and citation omitted). “In fact, there are few limitations on the types

of evidence a sentencing judge may consider, as long as it has sufficient indicia of reliability

to support its probable accuracy.” Id. (internal quote marks and citation omitted).

       In this case, the PSR and the addendum contained a detailed analysis of drug weight.

The addendum in particular went through Hawver’s statements in detail to come up with a

conservative drug weight of over 19 kilograms of cocaine, sufficient to create a base level of

34. In making these statements, Hawver spoke against her penal interest, see United States

v. Harper, 281 Fed. Appx. 608, 611 (7th Cir. 2008) (“Statements against penal interest are

presumptively reliable, . . . and a court can find sentencing facts against a defendant based on

statements against penal interest made by others.”), and her information was generally

consistent with the statements of other cooperators and other evidence in the case, which

included recorded calls and controlled buys. I therefore found her information sufficiently

reliable.

       The Seventh Circuit has long held that district courts may rely on information contained

in a PSR so long as it is well-supported and appears reliable. See, e.g., United States v.

Moreno-Padilla, 602 F.3d 802, 808-09 (7th Cir. 2010) (citing United States v. Heckel, 570 F.3d

791, 795 (7th Cir. 2009); United States v. Salinas, 365 F.3d 582, 587 (7th Cir. 2004); United

States v. Mustread, 42 F.3d 1097, 1101-02 (7th Cir.1994)). And when the court relies on a

PSR, it is the defendant’s task to show that the facts contained in the report are inaccurate.

He must produce some evidence that calls the reliability or correctness of the alleged facts into

question; a bare denial will not suffice. See Mustread, 42 F.3d at 1101-02. Only if the

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defendant’s objection creates real doubt as to the reliability of the information in the PSR does

the government have the burden of independently demonstrating the accuracy of the

information. See Moreno-Padilla, 602 F.3d at 809.

       Here, the PSR and addendum contained detailed, supported information, and aside

from criticizing it as hearsay, defendant offered no more than a denial. See Maiden, 2010 WL

1948340, at *2 (“Maiden has not created any doubt about the teller’s statement because, other

than generically criticizing it as hearsay, he offers no evidence that would lead us to question

the teller’s reliability.”). He provided no reason to doubt Hawver’s statements, which, as noted

above, were consistent with the statements of other cooperators and the other evidence of

record.

       The court may use a reasonable estimate of drug quantities, see United States v. Alviar,

573 F.3d 526, 546 (7th Cir. 2009), cert. denied, 130 S. Ct. 1312 (2010), and I found the amount

set forth in the PSR and addendum a reasonable estimate, if anything conservative.

Therefore, I overruled the objection.

D.     Aggravated Role

       Next, defendant objected to the 4 level aggravated role enhancement under U.S.S.G.

§ 3B1.1(a). That guideline provides:

       Based on the defendant’s role in the offense, increase the offense level as
       follows:

       (a) If the defendant was an organizer or leader of a criminal activity that involved
       five or more participants or was otherwise extensive, increase by 4 levels.

       (b) If the defendant was a manager or supervisor (but not an organizer or leader)
       and the criminal activity involved five or more participants or was otherwise
       extensive, increase by 3 levels.

       (c) If the defendant was an organizer, leader, manager, or supervisor in any

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       criminal activity other than described in (a) or (b), increase by 2 levels.

U.S.S.G. § 3B1.1.

       Here, defendant stipulated that he directed Sarah Hawver, Misty Dolgner and Katherine

Howard, and thus qualified for a 2 level enhancement under sub. (c), but he denied that the

criminal activity involved five or more participants or was otherwise extensive, as is necessary

for the four level increase. Specifically, defendant objected to Corey Smith’s involvement, as

he had not yet been convicted, and to the vague references in the PSR to un-named out-of-

state suppliers and other participating informants or defendants charged in state court.

       The objection failed. First, defendant seemed to assume that he had to direct or lead

five or more participants, but that is not the law. The guideline requires only that the defendant

controlled at least one other member of the criminal enterprise, and that the enterprise involved

five or more. U.S.S.G. § 3B1.1 cmt. n.2 (“To qualify for an adjustment under this section, the

defendant must have been the organizer, leader, manager, or supervisor of one or more other

participants.”); United States v. Gallardo, 497 F.3d 727, 739 (7th Cir. 2007) (“The Guidelines

only require that the defendant controlled one other member of the criminal enterprise.”);

United States v. Blaylock, 413 F.3d 616, 621 (7th Cir. 2005) (“All that is required is that the

defendant provide leadership and organization for a criminal enterprise comprised of five or

more persons and actually control at least one of the participants.”).

       Second, as to the objection to Smith’s inclusion, the application notes explain that a

“participant” is a person who is criminally responsible for the commission of the offense, but

need not have been convicted. U.S.S.G. § 3B1.1 cmt. n.1. The evidence set forth in the PSR,

the accuracy of which defendant did not seriously contest, demonstrated Smith’s involvement

by a preponderance of the evidence for the purposes of this enhancement. Specifically, Smith

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made drug deliveries at defendant’s direction, as explained in ¶ 21 of the PSR and the

addendum. With Smith’s inclusion, the PSR identified five participants – Hawver, Dolgner,

Howard, Smith and defendant. (Defendant counted as one of the five. See, e.g., United States

v. Lopez, 281 Fed. Appx. 964, 966 (11th Cir. 2008); United States v. Si Lu Tian, 339 F.3d 143,

156 (2d Cir. 2003); United States v. Schweihs, 971 F.2d 1302, 1318 (7th Cir. 1992); United

States v. Preakos, 907 F.2d 7, 10 (1st Cir. 1990)). In any event, the PSR and the addendum

identified other participants too, including “Gabe,” who helped pick up drugs, and “Big Moe” and

“Hollywood,” who supplied drugs to defendant’s organization; and the Seventh Circuit has held

that identification of the full names of all participants is not always necessary. See United

States v. Mansoori, 304 F.3d 635, 668-69 (7th Cir. 2002).

       Finally, although he essentially conceded the point, the record clearly demonstrated that

defendant organized and lead this criminal enterprise. He arranged the transactions with out-

of-state suppliers, and directed his underlings to pick-up the drugs, store them, make

deliveries, and count money. I therefore overruled this objection.

E.     Criminal History Objections

       Finally, defendant argued that, contrary to the information in the PSR, he was just

seventeen years old when arrested in the 1998 cocaine possession case. He therefore argued

for application of the 5 year rather than the 10 year look-back period for criminal history points.

Compare U.S.S.G. § 4A1.2(d) (generally providing for a 5-year window for offenses committed

prior to age eighteen), with U.S.S.G. § 4A1.2(e) (generally providing for a 10-year window for

adult convictions). However, defendant provided no evidence supporting his claim, while the

PSR addendum indicated the source of the information about the arrest (court records), which

appeared reliable. In any event, even if I excluded this 1 criminal history point, defendant still

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fell in category III. Thus, while I overruled the objection based on the lack of evidence

supporting it, I noted that this did not affect the guidelines and would not affect the sentence.

       Defendant also objected to one of the arrests listed in the PSR, indicating that it

pertained to his father, not him. This objection did not affect the guidelines or the sentence so

I did not resolve it under Fed. R. Crim. P. 32(i)(3)(B).

F.     Final Guideline Range

       Based on the above findings, I adopted an offense level of 35, criminal history category

of III, and imprisonment range of 210 to 262 months. I turned then to imposition of sentence

under 18 U.S.C. § 3553(a).

                                        II. SENTENCE

A.     Section 3553(a) Factors

       Section 3553(a) directs the district court to consider the following factors in imposing

sentence:

       (1)    the nature and circumstances of the offense and the history and characteristics
              of the defendant;

       (2)    the need for the sentence imposed–

              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;


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       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

       After considering these factors, the court must impose a sentence that is “sufficient but

not greater than necessary” to satisfy the purposes of sentencing set forth in sub-section (a)(2)

– just punishment, deterrence, protection of the public and rehabilitation of the defendant. The

court should give respectful consideration to the guidelines in making this determination, Gall

v. United States, 552 U.S. 38, 46 (2007), but it may not presume that the guideline sentence

is the correct one, Rita v. United States, 551 U.S. 338, 351 (2007). Rather, the court must

make an individualized assessment based on all of the § 3553(a) factors, keeping in mind that

the parsimony provision quoted above represents the “overarching” command of the statute,

see Kimbrough v. United States, 552 U.S. 85, 101 (2007), then adequately explain the chosen

sentence, see Gall, 552 U.S. at 49-50; see also United States v. Kirkpatrick, 589 F.3d 414,

415-16 (7th Cir. 2009) (“The Guidelines are no longer binding, so a judge need not explain why

a sentence differs from the Sentencing Commission’s recommendation. See United States v.

Bartlett, 567 F.3d 901, 909 (7th Cir.2009). It is enough to explain why the sentence is

appropriate under the statutory criteria.”).

B.     Analysis

       1.     The Offense

       Defendant conspired with others to obtain cocaine from Chicago and distribute it

throughout the Sheboygan County, Wisconsin area. He relied on others, including co-



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defendants Misty Dolgner, Sarah Hawver and Corey Smith, to do much of the work, including

traveling to Chicago to pick up the drugs. Once the cocaine arrived, defendant and those

working at his direction distributed it to others. In an effort to avoid connecting his assets to

drug trafficking, defendant often relied on others to transport and hold money. He also relied

on others, mostly women, to hold his cocaine once it was brought to Sheboygan.

       One cooperator, designated CI-3 in the PSR, indicated that s/he traveled to Chicago

about fifteen times between May and November 2007, obtaining 9 to 36 ounces of cocaine

each time from defendant’s suppliers, then transporting it back to Sheboygan. CI-3 met three

different suppliers.

       On November 28, 2007, agents executed a warrant at defendant’s “safe-house” in

Howard’s Grove, Wisconsin, seizing 164 grams of cocaine and a firearm belonging to the

tenant, Katherine Howard. Between March and October 2008, agents tracked Dolgner’s car

by GPS unit, learning that it made numerous trips to Chicago. Agents also got a wiretap for

defendant’s phone, which captured drug-related calls between defendant, Dolgner and Smith.

       In July 2008, a cooperating defendant, who indicated that s/he purchased 2.8 gram to

4.5 ounce quantities from defendant’s organization from 2003 or 2004 through July 2008, made

a controlled buy of 29.1 grams of cocaine from defendant and Hawver. As on previous

occasions, Hawver acted as defendant’s runner. The PSR detailed additional purchases of

one ounce on July 28, 2008 and two ounces on July 31, 2008. This cooperator also bought

two ounces on December 2, 2008, which was delivered by Corey Smith.

       As discussed above, in a post-arrest statement, Hawver estimated that she transported

about 19 kg of cocaine for defendant between December 2007 and August or September 2008.

Given all of this evidence, the drug weight figure in the PSR was likely a conservative one.

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       2.     The Defendant

       Defendant was thirty years old, with a prior record for cocaine possession in 1998, and

second degree sexual assault of a child and burglary in 2000. A state court judge sentenced

him to 4 years in prison for the assault case, and 8 years prison stayed for 10 years probation

on the burglary; that supervision was revoked in April 2009 and the 8 year stayed prison term

activated. The revocation was based on the instant offense, but defendant’s adjustment was

marginal even before this case arose. He was also convicted of a domestic violence-disorderly

conduct in 2004 arising out of an altercation with the mother of one of his children.

       Defendant had six children with four different women and owed substantial back child

support. Defendant noted that the arrears got worse after the court detained him in this case,

but he was held in contempt of court for failure to pay back in 2004, long before his detention.

One of the mothers made positive statements about defendant to the PSR writer, indicating

that he was a good person and committed father. But, I noted that she was the victim in the

2004 DV-DC case.

       Defendant earned an HSED after withdrawing from school, but his work record was quite

limited, consisting mostly of short-term jobs. Defendant admitted past use of marijuana, but

he did not appear to have a serious substance abuse problem. I saw no significant correctional

treatment needs, aside from vocational training and perhaps drug counseling.

       3.     The Guidelines and Purposes of Sentencing

       The guidelines called for a term of 210-262 months, and I agreed that a substantial

prison sentence was necessary here. Cocaine trafficking is a serious crime, and defendant

operated at a high level, directing others. Based on the cash seized around the time of



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defendant’s arrest, including $20,000 from a safe deposit box, as well as the statements from

CI-3 about counting $39,000 in proceeds, it also appeared that defendant profited handsomely.

       Defendant’s prior record was not extensive, but the 2000 case was very serious. He

also had a poor track record on supervision in the community, and his involvement in the

instant offense covered a significant period of time. Therefore, significant prison was needed

to protect the public and deter.

       Defendant sent the court a letter prior to sentencing, in which he tried to cast blame on

Dolgner and to a lesser extent on Hawver, which seemed rather remarkable given the evidence

in the record. I found that these and other statements in the letter about wanting to go to trial

and the “ghost dope law that the feds have” cast some doubt on the sincerity of his acceptance

of responsibility. I did consider defendant’s family support as a factor in his favor. I also

considered the efforts he made to be involved in his children’s lives.

       Defendant requested a sentence of 120 months, the mandatory minimum required by

statute, while the government advocated a sentence at the low end of the guideline range.

Given his prior record, the aggravating circumstances in this case, and his marginal acceptance

of responsibility, I found defendant’s recommendation of the minimum insufficient. Rather,

under all the circumstances, I found a sentence of 180 months sufficient but not greater than

necessary to satisfy the purposes of sentencing. This sentence adequately accounted for the

positive factors in defendant’s character and background discussed above. The sentence was

based on § 3553(a) and would have been the same regardless of my findings on the disputed

guideline issues. See United States v. Sanner, 565 F.3d 400, 406 (7th Cir. 2009). The

sentence varied modestly from the guideline range, less than 2 levels, and because it was

based on the particular facts of the case discussed it created no unwarranted disparity.

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       Consistent with the joint recommendation of the parties, I ran the instant sentence

concurrently with the balance of defendant’s 8 year state sentence after revocation. While the

guidelines recommend a consecutive term when the undischarged sentence is based on a

revocation, see U.S.S.G. § 5G1.3 cmt. n.3(C), the Seventh Circuit has acknowledged that a

concurrent term is reasonable where, as here, the revocation is based on the instant offense

conduct, see United States v. Huusko, 275 F.3d 600, 603 (7th Cir. 2001). Given the length of

the instant sentence, and the timing, this provided a significant additional punishment, sufficient

to satisfy the factors set forth in 18 U.S.C. § 3584 and U.S.S.G. § 5G1.3 cmt. n.3(A).2

                                       III. CONCLUSION

       Therefore, I committed defendant to the custody of the Bureau of Prisons for 180

months, running concurrent with the sentence in State of Wisconsin Case No. 99-CF-512,

followed by 5 years of supervised release. As conditions of supervision, I ordered him to

comply with drug testing and treatment, repay the buy money expended in this investigation,

and attend to his child support obligations. Other terms and conditions of the sentence appear

in the judgment.

       Dated at Milwaukee, Wisconsin, this 27th day of May, 2010.

                                           /s Lynn Adelman
                                           ________________________________________
                                           LYNN ADELMAN
                                           District Judge




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       Running the sentence concurrently responded to defendant’s argument as to the effect
of defendant’s 2000 convictions, which produced 5 of his 6 criminal history points and the 8
year revocation sentence. Any overstatement resulting from the 2000 convictions was more
than adequately addressed by running the instant sentence concurrently.

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